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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   BRAD TUCKMAN,

          Plaintiff,

   v.

   WELLS FARGO BANK, N.A., JPMORGAN
   CHASE BANK, N.A., and JOHN TORRES,

         Defendants.
   _________________________________________/


                                            COMPLAINT
         Plaintiff, Brad Tuckman, sues Defendants, Wells Fargo Bank, N.A. (“Wells Fargo”),

  JPMorgan Chase Bank, N.A. (“JPMorgan”), and John Torres.

                                       NATURE OF THE ACTION

         1.        This case arises directly out of a criminal Ponzi scheme that robbed dozens of

  innocent victims of tens of millions of dollars.

         2.        Plaintiff Brad Tuckman—a South Florida resident and businessman—is one of

  those victims.

         3.        Thus far, the United States Attorney’s Office for the Southern District of Florida

  has indicted three individuals with 40 counts of wire fraud, money laundering, and related

  conspiracies in connection with these crimes. See United States v. McConley, No. 19-cr-20447

  (S.D. Fla. 2019) (Ungaro, J.).

         4.        Non-party Benjamin Rafael has pleaded guilty to conspiring to commit wire fraud

  while he was an employee of Wells Fargo.
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         5.      Non-party Benjamin McConley—one of the masterminds of the fraudulent scheme

  who worked and communicated directly with Benjamin Rafael at Wells Fargo and Defendant John

  Torres (an employee at JPMorgan)—has also pleaded guilty to conspiring to commit wire fraud.

         6.      And non-party Jason Van Eman, who also communicated and worked directly with

  Wells Fargo and JPMorgan, is scheduled to go to trial in February 2020.

         7.      These indicted individuals did not act alone in carrying out their criminal scheme.

  Indeed, with the direct help and active assistance of Wells Fargo, JPMorgan, and their respective

  agents and employees, these fraudsters were able not only to inflict the maximum possible damage

  against their victims, but also to continue and perpetuate their criminal scheme for years unabated.

         8.      For example, Torres, a JPMorgan employee, made fraudulent misrepresentations

  to Tuckman in order to deprive him of millions of dollars, and he made these fraudulent

  misrepresentations in the scope of his employment with JPMorgan.

         9.      As a direct result of the actions of Wells Fargo, JPMorgan, and Torres, Tuckman

  has suffered grievous financial damage.

                                            THE PARTIES

         10.     Brad Tuckman is a businessman and resident and citizen of Florida.

         11.     Defendant Wells Fargo Bank, N.A. is a national association with its main office in

  South Dakota, and so it is a citizen of South Dakota under 28 U.S.C. § 1348.

         12.     Defendant JPMorgan Chase Bank, N.A. is a national association with its main

  office in Ohio, and so it is a citizen of Ohio under 28 U.S.C. § 1348.

         13.     Defendant John Torres is a citizen and resident of California.




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                                        JURISDICTION AND VENUE

         14.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because the

  Complaint raises a claim under the laws of the United States.

         15.     This Court also has subject-matter jurisdiction under 28 U.S.C. § 1332 because

  there is complete diversity between Plaintiff (a citizen of Florida) and Defendants (citizens of

  South Dakota, Ohio, and California, respectively), and the amount in controversy exceeds $75,000

  exclusive of costs and interest.

         16.     Venue is appropriate in the U.S. District Court for the Southern District of Florida

  under 18 U.S.C. § 1965 and 28 U.S.C. § 1391 because a substantial part of the events giving rise

  to the claims occurred in this district, Defendants’ activities were targeted at this district,

  conspirators in the fraudulent scheme alleged here have been indicted in this district, and Plaintiff,

  who is a victim of a fraudulent scheme, resides in this district, so justice requires venue here.

         17.     This Court has personal jurisdiction over Wells Fargo, JPMorgan, and Torres

  because, under 18 U.S.C. § 1965(d), nationwide service of process applies to this lawsuit.

         18.     This Court also has personal jurisdiction over Defendants under section

  48.193(1)(b) of the Florida statutes because they committed an intentional tort in Florida.

                                        THE SCHEME GENERALLY

         19.     In 2012, Jason Van Eman and Benjamin Forrest McConley began a fraudulent

  scheme that they perpetrated against over two dozen victims, and that same scheme continued until

  they were indicted in July of 2019.

         20.     In this scheme, Van Eman and McConley received help from Benjamin Rafael at

  Wells Fargo and John Torres at JPMorgan.




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          21.      Benjamin Rafael was, at all relevant times until June 18, 2015, an employee or

  agent of Wells Fargo as a personal banker in Miami, Florida and acted within the scope of that

  role.

          22.      John Torres was, at all relevant times until August of 2018, an employee or agent

  of JPMorgan as a banker in California and acted within the scope of that role. Upon information

  and belief, Torres was fired on August 9, 2018.

          23.      As part of their scheme, McConley and Van Eman told movie, film, and theater

  producers and other businesspersons that, in exchange for a cash contribution, Van Eman and

  McConley would match the contribution and use the combined funds to secure financing for the

  relevant motion picture, theater performance, or other project.

          24.      According to McConley and Van Eman, the victims’ contributions and their

  matching contributions would be kept by a bank in a secure account from which money could not

  be withdrawn, those funds would be used to secure a line of credit from the bank, and the victims’

  contribution would be returned once the line of credit was secured.

          25.      To bolster their credibility, McConley and Van Eman would use Rafael and Torres

  (and possibly others unknown to Plaintiff) to back up their claims or support their statements that

  they had secured a line of credit or matched the victims’ contributions.

          26.      Relying on these fraudulent statements, the victims provided their financial

  contributions.

          27.      But McConley and Van Eman did not, in fact, match their victims’ contributions.

  Instead, within days, McConley and Van Eman transferred their victims’ money to accounts under

  their or Rafael’s control, and they then used the money to keep angry victims at bay and to spend

  lavishly on their lifestyle.



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         28.    Thus, in reality, McConley, Van Eman, Wells Fargo’s employee Rafael, and

  JPMorgan’s employee Torres were lying to the victims when they assured them that the victims’

  contribution would be secure in an untouchable account, assured them that McConley and Van

  Eman had matched their contribution, assured them that McConley and Van Eman were wealthy

  businessmen, and assured them that McConley and Van Eman could not return the contributions

  because of compliance issues with the bank.

         29.    Of course, both Wells Fargo and JPMorgan saw several red flags before McConley

  and Van Eman could open their accounts, but despite this McConley and Van Eman opened several

  accounts at those banks, after JPMorgan and Wells Fargo overrode the red flags.

         30.    Wells Fargo earned transaction fees whenever McConley, Van Eman, or Rafael

  wired millions in or out of Wells Fargo accounts as well as other monetary and non-monetary

  benefits.

         31.    JPMorgan too earned transaction fees whenever McConley, Van Eman, or Torres

  wired millions in or out of JPMorgan accounts as well as other monetary and non-monetary

  benefits.

         32.    To suppress and hide negative information about them, McConley and Van Eman

  engaged an “online reputation management” firm and paid that firm with money stolen from

  victims.

         33.    McConley and Van Eman also duped their victims into signing false and fraudulent

  agreements that, among other things, contained provisions specifically designed to shield their

  criminal actions from public view and scrutiny.




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                               MCCONLEY SWINDLES DANE MILLER

           34.   On June 9, 2014, Dane Miller executed an agreement with McConley’s business,

  in which Miller was to deposit $1 million in a Wells Fargo account by wire.

           35.   Under the agreement, Miller’s funds were to be protected and restricted in the Wells

  Fargo account and McConley was to use Miller’s funds to receive a line of credit for $2 million

  from Wells Fargo.

           36.   The indictment against McConley, Van Eman, and Rafael describe this type of

  agreements as “false and fraudulent,” since McConley and Van Eman had no intention to actually

  perform under this type of agreements. The agreements, rather, were an artifice to accomplish the

  fraud.

           37.   Based on the agreement’s assurances, Miller wired $1 million on June 17, 2014.

           38.   The fraudulent agreement’s representations that Miller’s money was safe and that

  it would be returned were false, and McConley and Van Eman stole that money.

                      IN MAY OF 2015, ADANA INVESTING, INC. IS SWINDLED

           39.   McConley and Van Eman approached a company called Adana Investing, Inc.

  about making a short-term loan to Van Eman’s business entity, supposedly so that Van Eman and

  his business could produce three films.

           40.   Before agreeing to any deal with McConley and Van Eman, Adana Investing,

  through its representatives Alastair Burlingham and Lee Vandermolen, undertook due diligence.

           41.   This included a meeting on October 30, 2014 at a Wells Fargo branch in Fort

  Lauderdale, where a Wells Fargo agent named Paul Zoch informed Burlingham and Vandermolen

  that McConley and Van Eman had assets worth hundreds of millions of dollars.




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           42.   This was a lie, which Zoch knew, and in fact McConley and Van Eman had about

  $277,366 in assets.

           43.   On March 13 and 16, 2015, McConley, Van Eman, and Wells Fargo (through its

  agent Rafael) continued their charade, informing Burlingham and Vandermolen at a Wells Fargo

  branch at 1395 Brickell Avenue, Miami, Florida that Wells Fargo would issue a line of credit

  within 90 days of receiving Adana’s contribution and that Adana’s funds would be protected in a

  restricted account.

           44.   Those were all lies.

           45.   Burlingham and Vandermolen relayed these lies to Adana, which in turn relied on

  McConley, Van Eman, and Wells Fargo’s lies to make its contribution.

           46.   On May 13, 2015, Van Eman provided Adana a letter dated May 12, 2015 from

  Wells Fargo once again confirming that Adana’s funds would be protected. The letter was

  supposedly signed by Rafael, but its statement was false.

           47.   On May 15, 2015, based on all these misrepresentations, Adana executed an

  agreement with Van Eman and McConley’s business entities.

           48.   The indictment against McConley, Van Eman, and Rafael describe this type of

  agreements as “false and fraudulent,” since McConley and Van Eman had no intention to actually

  perform under this type of agreements. The agreements, rather, were an artifice to accomplish the

  fraud.

           49.   The fraudulent agreement and fraudulent letter were exchanged via e-mail.

           50.   Shortly after May 15, 2015, Adana provided its funds of $28,542,500.

           51.   McConley and Van Eman had no intention of ever paying Adana back and, despite

  their and Wells Fargo’s assurances that Adana’s funds could not be removed from the Wells Fargo



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  account, McConley, Van Eman, and Rafael removed those funds quickly after receiving them and

  stole them for their own personal use.

                 MEANWHILE, 818 MEDIA PRODUCTIONS, LLC IS SWINDLED TOO

           52.   On or about March 30, 2015, Van Eman approached agents for a company called

  818 Media Productions, LLC about financing a film called “Inside Game.”

           53.   At that meeting, Van Eman informed 818 Media Productions’ agents (named

  Michael Pierce and Paul Martino) that Van Eman and McConley had substantial financial assets

  at Wells Fargo.

           54.   Throughout March of 2015, Van Eman, McConley, and Wells Fargo through

  Rafael and another of its employee or agents, Hernan Bermudez, consistently told Michael Pierce

  and Paul Martino that McConley and Van Eman (through their business entities) maintained

  credible accounts and significant assets at Wells Fargo.

           55.   In reality, all these statements were false.

           56.   But in reliance on these false statements, 818 Media Productions executed an

  agreement, which McConley and Van Eman used to perpetrate their fraud.

           57.   The fraudulent agreement, dated May 14, 2015, was exchanged via e-mail.

           58.   The indictment against McConley, Van Eman, and Rafael describe this type of

  agreements as “false and fraudulent,” since McConley and Van Eman had no intention to actually

  perform under this type of agreements. The agreements, rather, were an artifice to accomplish the

  fraud.

           59.   Based on these representations and the agreement, 818 Media deposited $1.25

  million in a Wells Fargo account.




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           60.   The scheme did not end there. In fact, to keep 818 Media Productions in the dark,

  McConley, Van Eman, and Wells Fargo lied to 818 Media Productions’ agents after it executed

  the fraudulent agreement.

           61.   On June 2, 2015, for instance, Van Eman sent an e-mail to Rafael, directing Rafael

  to state that the $1.25 million had been received, the matching funds had been received, and that

  the funds were in the secured account.

           62.   Later that day, Rafael sent an e-mail to Michael Pierce and Paul Martino confirming

  that McConley and Van Eman had matched 818 Media Productions’ contribution.

           63.   This statement was false and fraudulent, and, in reality, Van Eman and McConley

  stole 818 Media’s $1.25 million without ever matching the funds.

             IN MARCH OF 2015, THE SCHEME ALSO SWINDLES A CAR MANUFACTURER

           64.   McConley, Van Eman, and Wells Fargo also swindled a supercar manufacturer

  called SSC North America, LLC.

           65.   As they did with the other victims, McConley, Van Eman, and Wells Fargo

  undertook wire fraud to steal the victim’s money.

           66.   On March 12, 2015, SSC North America executed an agreement with McConley

  and Van Eman in which each side would contribute money into a safe account at Wells Fargo,

  which would be used to secure a line of credit for SSC North America.

           67.   The indictment against McConley, Van Eman, and Rafael describe this type of

  agreements as “false and fraudulent,” since McConley and Van Eman had no intention to actually

  perform under this type of agreements. The agreements, rather, were an artifice to accomplish the

  fraud.




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           68.    On a telephone call in March of 2015, Wells Fargo agent Zoch assured SSC North

  America’s agent, Jerod Shelby, that once SSC North America wired the funds into the Wells Fargo

  account, that money could not be withdrawn without SSC North America’s written approval.

           69.    On March 18, 2015, through an e-mail sent to SSC North America’s representative,

  Shelby, Rafael confirmed that the money could not be moved out of the Wells Fargo account

  without Shelby’s consent. Rafael also stated and confirmed that the $2.2 million contributed by

  SSC North America was matched by McConley and Van Eman.

           70.    In mid-April of 2015, SSC North America, through Shelby and Ron Asmus, met

  Rafael at the Wells Fargo branch at 1395 Brickell Avenue, Miami, Florida. There, Rafael again

  explained that SSC North America’s funds could not be transferred out of the account without SSC

  North America’s written consent and that Van Eman and McConley had over $100 million in

  liquid assets at Wells Fargo.

           71.    All these statements were false.

           72.    Based on these misrepresentations, SSC North America wired over $5 million in

  different tranches, which was stolen.

                 IN JUNE, ANOTHER VICTIM—SORAL, LLC—FALLS FOR THE SCHEME

           73.    In early 2015, Soral, LLC sought help funding The Scent of Rain & Lighting, a

  movie.

           74.    Van Eman and McConley proposed entering into an agreement whereby Soral

  would deposit $1.55 million into a “secure” Wells Fargo account, Van Eman and McConley’s

  business entities would match those funds, and everyone would receive a line of credit from Wells

  Fargo.




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           75.    On June 15, 2015, Soral executed an agreement with McConley and Van Eman’s

  businesses.

           76.    The indictment against McConley, Van Eman, and Rafael describe this type of

  agreements as “false and fraudulent,” since McConley and Van Eman had no intention to actually

  perform under this type of agreements. The agreements, rather, were an artifice to accomplish the

  fraud.

           77.   On June 22, 2015, Van Eman sent an e-mail to Rafael’s Wells Fargo e-mail address

  requesting confirmation that Rafael had received the fraudulent agreement and that Rafael had

  opened the appropriate account.

           78.    Rafael, clearly having access to his work e-mail, confirmed via his personal e-mail.

           79.   All those statements were false.

           80.   Soral wired $1.55 million to the Wells Fargo account, and McConley, Van Eman,

  and Rafael stole it.

                               THERE ARE A SLEW OF OTHER VICTIMS

           81.    These are not the only victims, since the indictment—docket entry 3 of United

  States v. McConley, No. 19-cr-20447 (S.D. Fla. July 25, 2019)—raises 25 other counts of wire

  fraud by McConley, Van Eman, and Wells Fargo’s agent Rafael.

           82.    For instance, on October 4, 2014, McConley wrote an e-mail to a victim stating that

  he was working out some issues to get the victim his funds. This was false.

           83.    On February 1, 2015, Van Eman sent McConley and two other victims an e-mail

  containing a false and fraudulent “Performance Bond Agreement.”

           84.    On April 20, 2015, McConley sent Van Eman a fraudulent attorney opinion letter

  via e-mail to use in their scheme against another victim.



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         85.     On October 1, 2015, Van Eman sent another victim an e-mail with a letter from

  Wells Fargo signed by Rafael stating that a nonexistent account had a balance of over $30 million.

         86.     On July 15, 2016, McConley sent Van Eman an e-mail containing a doctored and

  fraudulent confirmation of a nonexistent wire transfer.

                      THE FRAUDSTERS BEGIN TO CONSPIRE WITH JPMORGAN

         87.     McConley, Van Eman, and Rafael stole tens of millions of dollars from their

  victims and wired that money to other bank accounts under their control.

         88.     Of course, they spent that money largely on themselves.

         89.     But McConley and Van Eman would also use these funds obtained via Wells Fargo

  for years to come in order to loop other victims into their scheme and to calm victims through

  sporadic payments whenever the victims clamored for a return of their money.

         90.     McConley and Van Eman would also use the funds received through Wells Fargo

  to keep their conspiracy from the public view by hiring an online reputation management firm and

  hiring lawyers to dispute the civil lawsuits initiated by their victims.

         91.     What’s more, with the money retained through Wells Fargo, McConley and Van

  Eman were able to open large accounts at JPMorgan, which was lucrative to JPMorgan.

         92.     McConley and Van Eman also began to conspire with employees at JPMorgan.

         93.     One of those co-conspirators was Defendant Torres, who worked in a JPMorgan

  branch in California.

         94.     Among Torres’s first acts in helping McConley and Van Eman was his decision to

  open an account for them at JPMorgan, even though JPMorgan saw numerous red flags.




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         95.     Through its other employees and agents, JPMorgan also facilitated and aided

  McConley and Van Eman in establishing a banking relationship at JPMorgan that would allow for

  the continuation of their criminal scheme.

         96.     Based on publicly available information, JPMorgan should not have allowed Van

  Eman and McConley (and their related entities) to establish and continue their banking relationship

  at JPMorgan.

         97.     Based on internal information and materials that JPMorgan had in its possession,

  JPMorgan should not have permitted Van Eman and McConley (and their related entities) to

  establish and continue their banking relationship at JPMorgan.

         98.     JPMorgan did not comply with applicable banking regulations and requirements

  with respect to Van Eman and McConley (and their related entities).

         99.     Acting on behalf of JPMorgan, Torres would also directly communicate with

  Plaintiff, helping McConley and Van Eman defraud Plaintiff.

                                THE SCHEME SWINDLES TUCKMAN

         100.    On July 21, 2017, Tuckman was seeking someone to help finance a movie.

         101.    McConley and Van Eman offered to help him under one of those fraudulent and

  false agreements mentioned by the United States in its indictment.

         102.    In doing due diligence, Tuckman discussed McConley and Van Eman with other

  film producers, and those film producers told Tuckman that McConley and Van Eman always paid.

         103.    Ponzi schemes, however, depend on the goodwill of earlier victims, who get paid

  from funds stolen from future victims.




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         104.   Consequently, Tuckman’s due diligence efforts were stymied and muddled because

  he was communicating with victims who had unknowingly been deceived and defrauded by

  McConley, Van Eman, Rafael, and Wells Fargo.

         105.    For instance, one of Tuckman’s agents talked to a person associated with an

  executive producer of a movie called Antibirth, who informed Tuckman’s agent that McConley

  and Van Eman eventually came through on their fraudulent agreement.

         106.   Upon information and belief, Van Eman and McConley were able to fund Antibirth

  based on the proceeds received by defrauding Adana and other victims defrauded by Van Eman,

  McConley, Rafael, and Wells Fargo.

         107.   Another of Tuckman’s agents also had interactions with Wells Fargo agents, who

  never informed him that McConley and Van Eman were fraudsters.

         108.    Van Eman and McConley were able to pay those film producers, however, only

  because they were able to utilize Wells Fargo to syphon millions from their victims.

         109.   Under the “Depositor Funding Agreement,” McConley’s and Van Eman’s

  businesses would pour $1.85 million and Tuckman’s business would pour $1.85 million into a

  secured account at JPMorgan (the “Chase Account”), from which Tuckman’s money could not be

  removed.

         110.   Under the Depositor Funding Agreement, Tuckman would have his $1.85 million

  returned.

         111.   McConley and Van Eman would then receive a line of credit for $3.7 million.

         112.   Van Eman and McConley sent drafts of this fraudulent Depositor Funding

  Agreement to Tuckman via e-mail on August 2, 2017, October 6, 2017, and October 20, 2017.




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         113.    On October 26, 2017, Van Eman and McConley, via e-mail, sent Tuckman signed

  versions of the fraudulent Depositor Funding Agreement on behalf of his business.

         114.    Before Tuckman wired the $1.85 million into the purportedly “secure” Chase

  Account, he requested confirmation from JPMorgan that the account was in fact secure.

         115.    On November 1, 2017, McConley sent Van Eman an e-mail containing a letter

  dated October 31, 2017 on JPMorgan letterhead and signed by Torres falsely stating that JPMorgan

  had opened a secured account “managed in accordance” with the Depositor Funding Agreement,

  that McConley’s business entity had accounts in “good standing” with JPMorgan, and that those

  accounts in good standing had over $3.7 million in funds without restrictions or holds.

         116.    Each one of those statements were utter fabrications.

         117.    On the same day, Van Eman forwarded McConley’s e-mail and the fraudulent letter

  to Tuckman.

         118.    Also on November 1, 2017, Van Eman sent an e-mail to Torres (at his JPMorgan

  e-mail address), Tuckman, McConley, and two others. In that e-mail, Van Eman thanked Torres

  for “the letter regarding our new project/project account” for Tuckman’s business and “the receipt

  of the Depositor Funding Agreement that manages.” Van Eman then asked Torres to confirm that

  letter, specifying that it was dated October 31, 2017.

         119.    Torres replied to all and confirmed on November 1, 2017, writing, “We have

  confirmed, and we are ready to open the account for the new project.”

         120.    Torres’s statement was false, and Torres knew it. Nothing had been confirmed, and

  no new accounts were being opened for new projects.

         121.    On November 2, 2017, relying on McConley, Van Eman, and Torres’s

  misrepresentations, Tuckman sent his notarized signature on the Depositor Funding Agreement to



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  Van Eman. Tuckman did not sign the agreement in his individual capacity, but rather as the

  managing member of his business.

         122.     This Agreement was false and fraudulent, and it was specifically designed to further

  the criminal scheme and to steal Brad Tuckman’s money. The Agreement also included provisions

  that were specifically designed to conceal the criminal scheme for as long as possible and shield

  all the criminal acts from public view and scrutiny.

         123.     On or about November 7, 2017, Tuckman wired $1.85 million of his money to the

  purportedly secure Chase Account.

         124.     Of course, contrary to Van Eman’s, McConley’s, and Torres’s misrepresentations

  that JPMorgan was opening a new, secure account or that JPMorgan would follow the Depositor

  Funding Agreement, Van Eman and McConley stole Tuckman’s money as soon as they received

  it in the Chase Account. They never matched Tuckman’s contribution.

                VAN EMAN AND MCCONLEY REFUSE TO RETURN TUCKMAN’S MONEY

         125.     From there on out, McConley, Van Eman, and Torres lied constantly to keep

  Tuckman in the dark about their scheme.

         126.     To do so, McConley, Van Eman, and Torres made further misrepresentations,

  signed further false and fraudulent agreements, and committed even more wire fraud.

         127.     For instance, on November 21, 2017, Van Eman forwarded Tuckman an e-mail

  from McConley that had an account statement attached reflecting a balance of $3,710,880.

         128.     That account statement was a fraudulent fabrication.

         129.     On December 8, 2017, Van Eman sent Tuckman and McConley fake signature

  cards, purportedly to have authority over the Chase Account.




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         130.      Eventually, the deadlines to receive a line of credit and return Tuckman’s $1.85

  million came and went, and Tuckman began to inquire where his money went.

         131.      In a text sent by Van Eman to Tuckman on March 15, 2018, he reassured Tuckman

  that he was working with JPMorgan and was close to sending the $1.85 million.

         132.      This statement was false.

         133.      This statement was also part of the scheme, with Van Eman, Rafael, McConley,

  and Torres constantly blaming the banks for Van Eman and McConley’s inability to return their

  victims’ funds—usually based on “compliance” issues—when, in fact, the victims’ money was

  simply stolen.

         134.      For instance, in a text message sent to Tuckman on March 28, 2018, McConley

  falsely stated that McConley was having issues wiring money because there was an outstanding

  fee at the bank.

         135.      On April 6, 2018, Tuckman had a call with Van Eman and Torres. On that call,

  Torres told Tuckman that his $1.85 million would be wired that Friday. Torres, however, pleaded

  with Tuckman to give the transfer wire until the upcoming Monday, because Torres did not want

  Tuckman calling the JPMorgan branch on Friday because, supposedly, doing so would jeopardize

  the line of credit from processing.

         136.      Every single one of these statements by Torres was a lie: There was no money, no

  wire was forthcoming, and there was no line of credit.

         137.      On April 10, 2016, Van Eman in an e-mail to McConley and Plaintiff blamed

  JPMorgan for his inability to wire money to Tuckman.

         138.      Plaintiff on that same day called Torres at his work at 3:52 p.m., but Torres did not

  pick up.



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         139.    Within four minutes, Van Eman called Tuckman, explaining that he needed to stop

  calling Torres or it would jeopardize the line of credit.

         140.    As Tuckman’s concerns grew, Van Eman and McConley signed further fraudulent

  and false agreements with no intent of fulfilling those agreements in order to keep Tuckman from

  uncovering their scheme.

         141.    For instance, on June 2, 2018, McConley and Van Eman, through their businesses,

  executed a Settlement and Forbearance Agreement whereby they made a slew of

  misrepresentations, including the false statement that “funds were available to be wired timely, but

  the bank was at sole fault for the payment being delayed.”

         142.    In July of 2018, as part of a consent judgment, Tuckman’s businesses sued

  McConley, McConley’s business, and Van Eman’s business in Florida state court, and the consent

  judgment was entered without opposition from Van Eman, McConley, or their businesses.

         143.    On August 9, 2018, JPMorgan fired Torres for his fraud, admitting that Torres

  opened improper accounts and provided inaccurate information about bank accounts to innocent

  third parties, like Tuckman.

         144.    On October 23, 2018, McConley and Van Eman, once again to allay Tuckman’s

  concerns, signed an amendment to all their other fraudulent agreements, essentially giving up all

  their rights under all the other agreements in return for more time to pay Tuckman.

         145.    This agreement too was fraudulent and merely an artifice for fraud.

         146.    As late as November 27, 2018, McConley was sending Tuckman e-mails promising

  that everything would be fixed soon.

         147.    Of course, this too was a lie.




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         148.    Throughout this time, because of this fraud, Tuckman had to spend his own money

  to fund his business and the film.

         149.    Upon information and belief, in 2019, the scheme continued against other victims,

  including victims associated with Torres.

         150.    On July 25, 2019, the United States indicted McConley, Van Eman, and Rafael.

         151.    In addition to the criminal case, there have also been numerous civil cases arising

  out of these crimes.

         152.    At all relevant times, Rafael, McConley and Tuckman were in Florida, Van Eman

  was in Oklahoma, and Torres was in California.

                               COUNT I: CIVIL RICO UNDER § 1962(c)
                                   (AGAINST ALL DEFENDANTS)

         153.    Plaintiff incorporates and realleges paragraphs 1 through 152 here.

         154.    McConley, Van Eman, Wells Fargo, Rafael, JPMorgan, and Torres associated in

  fact to create an enterprise with the common purpose of defrauding dozens of victims from 2012

  to 2019.

         155.    The enterprise’s activity affected interstate commerce.

         156.    Wells Fargo, JPMorgan, and Torres were employed by or associated with the

  enterprise.

         157.    Wells Fargo, JPMorgan, and Torres participated, either directly or indirectly, in the

  conduct of the affairs of the enterprise.

         158.    Wells Fargo, JPMorgan, and Torres participated through a pattern of racketeering

  activity, namely, numerous instances of wire fraud under 18 U.S.C. § 1343.

         159.    Tuckman suffered injury to business or property, which was proximately and

  actually caused by the pattern of racketeering.

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          WHEREFORE, Tuckman requests that this Court enter a judgment against Wells Fargo,

  JPMorgan, and John Torres and award them compensatory damages, costs, treble damages, pre-

  judgment interest, attorneys’ fees, and all other just and equitable relief that this Court deems

  appropriate.

                        COUNT II: CIVIL RICO CONSPIRACY UNDER § 1962(d)
                                   (AGAINST ALL DEFENDANTS)

          160.     Plaintiff incorporates and realleges paragraphs 1 through 152 here.

          161.     McConley and Van Eman associated in fact to create an enterprise with the

  common purpose of defrauding dozens of victims from 2012 to 2019.

          162.     The enterprise’s activity affected interstate commerce.

            163.   McConley and Van Eman were employed by or associated with the enterprise.

            164.   McConley and Van Eman participated, either directly or indirectly, in the conduct

  of the affairs of the enterprise.

            165.   McConley and Van Eman participated through a pattern of racketeering activity,

  namely, numerous instances of wire fraud under 18 U.S.C. § 1343. This enterprises’ activities

  constituted a pattern of racketeering activity with several instances of wire fraud under 18 U.S.C.

  § 1343.

          166.     Tuckman suffered injury to business or property, which was proximately and

  actually caused by the enterprise’s pattern of racketeering.

            167.   Wells Fargo, JPMorgan, and Torres conspired with McConley and Van Eman to

  violate 18 U.S.C. § 1962(c).

          168.     Wells Fargo, JPMorgan, and Torres agreed to further and knowingly intended to

  further their conspiracy, which, if completed, satisfied all the elements of violating 18 U.S.C. §

  1962(c).


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         WHEREFORE, Tuckman requests that this Court enter a judgment against Wells Fargo,

  JPMorgan, and John Torres and award them compensatory damages, costs, treble damages, pre-

  judgment interest, attorneys’ fees, and all other just and equitable relief that this Court deems

  appropriate.

                                       COUNT III: FRAUD
                                (AGAINST JPMORGAN AND TORRES)

         169.    Plaintiff incorporates and realleges paragraphs 1 through 152 here.

         170.    JPMorgan and Torres each made statements of material fact to Tuckman.

         171.    JPMorgan and Torres each knew those statements to be false.

         172.    JPMorgan and Torres each made these misrepresentations to induce Tuckman to

  provide $1.85 million into the Chase Account.

         173.    Tuckman relied on these misrepresentations and wired $1.85 million to the Chase

  Account, which was stolen.

         174.    Tuckman was actually damaged and injured by these misrepresentations.

         WHEREFORE, Tuckman requests that this Court enter a judgment against JPMorgan and

  Torres and award him compensatory damages, punitive damages, costs, pre-judgment interest, and

  all other just and equitable relief this Court deems appropriate.

                            COUNT IV: CIVIL CONSPIRACY TO DEFRAUD
                                  (AGAINST ALL DEFENDANTS)

         175.    Plaintiff incorporates and realleges paragraphs 1 through 152 here.

         176.    McConley and Van Eman, through fraud and deception, stole millions from several

  victims.

         177.    Wells Fargo, JPMorgan, and Torres agreed to conspire and conspired with

  McConley and Van Eman to commit fraud, including wire fraud.



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         178.    Wells Fargo, JPMorgan, and Torres committed overt acts to further that conspiracy.

         179.    Tuckman was injured and damaged by the conspiracy.

         WHEREFORE, Tuckman requests that this Court enter a judgment against Wells Fargo,

  JPMorgan, and Torres and award him compensatory damages, punitive damages, costs, pre-

  judgment interest, and all other just and equitable relief this Court deems appropriate.

                          COUNT V: AIDING AND ABETTING CONVERSION
                              (AGAINST JPMORGAN AND TORRES)

         180.    Plaintiff incorporates and realleges paragraphs 1 through 152 here.

         181.    Tuckman deposited $1.85 million into the Chase Account, in which that money was

  to stay secure, intact, and untouched.

         182.    That money is property of Tuckman.

         183.    Tuckman has the immediate right to possess his $1.85 million.

         184.    McConley and Van Eman are wrongfully and intentionally exercising control and

  dominion over this identifiable and specific $1.85 million without Tuckman’s authorization.

         185.    This dominion and control is inconsistent and adverse to the rights of Tuckman and

  is damaging Tuckman.

         186.    Tuckman has demanded return of the $1.85 million from McConley and Van Eman,

  but the money has not been returned to Tuckman.

         187.    McConley and Van Eman have converted the $1.85 million.

         188.    JPMorgan and Torres knew of McConley and Van Eman’s conversion and provided

  substantial assistance in the conversion.

         189.    JPMorgan’s and Torres’s actions were willful and have directly caused and

  continue to cause injury and damage to Tuckman.




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         WHEREFORE, Tuckman requests that this Court enter a judgment against JPMorgan and

  Torres and award him compensatory damages, punitive damages, pre-judgment interest, and all

  other just and equitable relief this Court deems appropriate.

                              COUNT VI: AIDING AND ABETTING FRAUD
                                  (AGAINST ALL DEFENDANTS)

         190.    Plaintiff incorporates and realleges paragraphs 1 through 152 here.

         191.    McConley and Van Eman committed a fraud against Tuckman by making material

  misrepresentations to induce Tuckman to give them $1.85 million, which they stole after Tuckman

  relied on their misrepresentations.

         192.    McConley and Van Eman’s fraud injured Tuckman.

         193.    Wells Fargo, JPMorgan, and Torres were aware and knew of McConley and Van

  Eman’s fraud against Tuckman and dozens of others.

         194.     Their knowledge notwithstanding, Wells Fargo, JPMorgan, and Torres provided

  McConley and Van Eman substantial assistance to advance the commission of the fraudulent

  scheme.

         195.    Wells Fargo’s, JPMorgan’s, and Torres’s actions were willful and have caused and

  continue to cause injury and damages to Tuckman.

         WHEREFORE, Tuckman requests that this Court enter a judgment against Wells Fargo,

  JPMorgan, and Torres and award him compensatory damages, punitive damages, pre-judgment

  interest, and all other just and equitable relief this Court deems appropriate.

                                             JURY DEMAND

         Plaintiff demands a trial by jury on all issues so triable.




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  Dated: November 15, 2019             Respectfully Submitted,

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